             Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 1 of 16




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ROSEMARY NELSON, Individually
 and as Administratrix of the Estate of
 EDWIN R. NELSON, JR., Deceased,
                                              Civil Action No.: 1:22-cv-234
                   Plaintiff,

            vs.

 ERIE COUNTY, PENNSYLVANIA,
 as owner and operator of PLEASANT
 RIDGE MANOR, a skilled nursing
 facility,

                   Defendant.


                                  PLAINTIFF’S COMPLAINT

        AND NOW, comes the Plaintiff, Rosemary Nelson, Individually and as the

Administratrix of the Estate of Edwin R. Nelson, Jr., Deceased, by and through her undersigned

counsel, Elizabeth A. Chiappetta, Esquire; Allison H. Greene, Esquire; and the law firm of

Robert Peirce & Associates, P.C. and files this Complaint for Defendant’s violation of duties

imposed upon it under the Omnibus Budget Reconciliation Act of 1987 (“OBRA”); the Federal

Nursing Home Reform Act (“FNHRA”); 42 U.S.C. §1396r, et al.; the implementing regulations

found at 42 C.F.R. §483, et al.; and for violations of the Constitution of the United States of

America under Amendment Fourteen, enforceable under 42 U.S.C. §1983, against Defendant

Erie County, Pennsylvania, as owner and operator of Pleasant Ridge Manor, a skilled nursing

facility.

                                        Nature of Action

        1.        This is a proceeding under 42 U.S.C. §1983 to remedy deprivations of rights

under the Omnibus Budget Reconciliation Act of 1987; the Federal Nursing Home Reform Act;




                                                1
            Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 2 of 16




the Federal Nursing Home Regulations as found at 42 C.F.R. §483, which amplify the

aforementioned statutes; and the Constitution of the United States of America.

                                    Jurisdiction and Venue

       2.      As the instant case presents issues of federal law, jurisdiction is proper in this

forum as a federal question, pursuant to 28 U.S.C §1331.

       3.      Venue lies within this judicial district, since all of the actions complained of

herein occurred within the Western District of Pennsylvania.

                                             Parties

       4.      Plaintiff Rosemary Nelson is an adult who resides at 4006 Greenway Drive, Erie,

Erie County, Pennsylvania 16506.

       5.      Rosemary Nelson is the wife of Plaintiff’s Decedent Edwin R. Nelson, Jr.

       6.      Edwin R. Nelson, Jr. died on December 3, 2021.

       7.      Rosemary Nelson was appointed as the Administrator of the Estate of Edwin R.

Nelson, Jr. by the Register of Wills of Erie County on June 7, 2022.

       8.      Plaintiff brings this action as the personal representative of the Estate of Edwin R.

Nelson, Jr., on her own behalf, and on behalf of all those entitled by law to recover damages for

the wrongful death of Edwin R. Nelson, Jr.

       9.      The name and addresses of all persons legally entitled to recover damages for the

wrongful death, pursuant to the Pennsylvania Wrongful Death Act of 42 Pa. Const. Stat. § 8301,

which these causes of action borrow from, of Edwin R. Nelson, Jr. and their relationship to him

as follows:




                                                 2
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 3 of 16




                Name:                       Address:                          Relationship:

                Rosemary Nelson             4006 Greenway Drive               Wife
                                            Erie, PA 16506

                Linda E. Nelson             32540 Greenwood Loop              Daughter
                                            Wesley Chapel, FL 33545

                Eric Nelson                 397B Lowell Street                Son
                                            Peabody, MA 01960

                Timothy Nelson              3111 Raspberry Street             Son
                                            Erie, PA 16508



       10.     Defendant Erie County, Pennsylvania is a governmental agency with its

governmental offices located at Office off The County Clark, Erie County Courthouse, 140 W

6th St., Erie, Erie County, Pennsylvania 16417.

       11.     Defendant Erie County, Pennsylvania, as a governmental agency, at all times

relevant hereto, was acting under the color of state law.

       12.     Defendant Erie County, Pennsylvania owns and operates Pleasant Ridge Manor

(“Pleasant Ridge”), which is a skilled nursing facility located at 8300 West Ridge Road, Girard,

Erie County, Pennsylvania 16417.

       13.     As Pleasant Ridge Manor is owned and operated by Defendant Erie County,

Pennsylvania, Defendant is proper party Defendant to this matter.

       14.     At all relevant times hereto, Defendant Pleasant Ridge Manor operated as a “long-

term care nursing facility” as that term is defined in 35 P.S. §448.802(a).

       15.     Accordingly, Defendant Pleasant Ridge Manor is a “healthcare provider” as that

term is defined in 40 P.S. §1303.503, and Plaintiff is asserting a professional liability claim

against Defendant.



                                                  3
           Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 4 of 16




        16.        At all times relevant hereto, Defendant Pleasant Ridge Manor operated as a

“skilled nursing facility” as that term is defined in 42 U.S.C. §1395i-3.

        17.        At all times relevant hereto, Pleasant Ridge Manor was acting under the control of

Erie County, Pennsylvania, and by and through its duly authorized agents and/or employees who

then and there acting within the course and scope of their employment.

        18.        Defendant Erie County is a county government organized and existing under the

laws of this Commonwealth of Pennsylvania. At all times relevant hereto, Defendant Erie

County, acting through Pleasant Ridge Manor, was responsible for the policies, practices,

supervision, implementation, and conduct of all matters pertaining to Pleasant Ridge Manor and

was responsible for the appointment, training, supervision, and conduct of all Pleasant Ridge

Manor personnel. In addition, at all relevant times, Defendant Erie County was responsible for

enforcing the rules of Pleasant Ridge Manor facility and for ensuring that personnel employed in

the facility obey the Constitution and laws of the United States and of the Commonwealth of

Pennsylvania.

        19.        At no point has suit been brought by or on behalf of Edwin R. Nelson, Jr. either

for his personal injuries nor for his wrongful death.

        20.        At all times relevant hereto, Plaintiff’s Decedent was a recipient of Medicare

benefits pursuant to 42 U.S.C.A. §1396, et. seq.

                                         Statement of Claims

        21.        All preceding paragraphs of this Complaint are incorporated herein, as if set more

fully at length.

        22.        Edwin R. Nelson, Jr. (herein “Mr. Nelson”) was 97 years old when he was

admitted to Pleasant Ridge Manor on November 5, 2021 for long-term skilled nursing services.




                                                   4
           Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 5 of 16




        23.     Mr. Nelson had the following pre-existing conditions at the time of his admission:

coronary artery disease, atrial fibrillation, unspecified dementia without behaviors,

hyperglycemia, transient ischemic attack, cerebral infarction without residual defect, and a

history of falls at home.

        24.     Pleasant Ridge staff noted at the time of admission that Mr. Nelson had mild

cognitive impairment and his skin was described as “dry and fragile.”

        25.     At admission, Pleasant Ridge ordered the following medications for Mr. Nelson:

Eliquis, diltiazem, and acetaminophen

        26.     Pleasant Ridge staff noted that Mr. Nelson was at high risk for falls due to his

multiple diagnoses and his history of falls at home.

        27.     On November 5, 2021, the day of his admission, Pleasant Ridge staff performed a

Fall Risk Assessment of Mr. Nelson.

        28.     During this Fall Risk Assessment, Pleasant Ridge staff again noted that Mr.

Nelson exhibited intermittent confusion, had suffered approximately 1-3 falls in the past three

months, was wheelchair bound, had poor vision, and had an increased risk for falls due to the

medications he was on.

        29.     Following the Fall Risk Evaluation, Mr. Nelson’s fall risk score was 16,

indicating he was “at risk” for falls.

        30.     Despite the foregoing, Pleasant Ridge’s only fall prevention tool to be included in

Mr. Nelson’s Care Plan was “call bell within reach.”

        31.     Pleasant Ridge, at the time of Mr. Nelson’s admission, did not provide him with

any chair alarms, bed alarms, personal sensor alarms, fall mats, or any other interventions to

protect him from falling and/or injury.




                                                 5
              Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 6 of 16




        32.      Only two days after admission, on November 7, 2021, Mr. Nelson suffered his

first fall at Pleasant Ridge.

        33.      Pleasant Ridge staff found Mr. Nelson in the bathroom, seated on the floor next to

the toilet.

        34.      According to Pleasant Ridge records, Mr. Nelson fell while attempting to self-

transfer from his wheelchair to his toilet.

        35.      Following this event, Pleasant Ridge staff requested Mr. Nelson have a chair

pressure alarm.

        36.      Additionally, there is no record that Pleasant Ridge staff performed a full physical

and/or neurological evaluation of Mr. Nelson immediately after his fall; and staff did not perform

a post-fall fall risk assessment or create a toileting schedule for Mr. Nelson.

        37.      On November 12, 2021, Pleasant Ridge staff performed a Braden Scale

assessment of Mr. Edwin.

        38.      A Braden Scale assessment demonstrates the risk of a patient acquiring a pressure

ulcer or other related skin injury.

        39.      Despite noting at admission that Mr. Nelson’s skin was dry and fragile, Pleasant

Manor staff noted that Mr. Nelson was at low risk for pressure ulcers and clinically suggested

turning and repositioning him every two hours.

        40.      Four days after Mr. Nelson’s Braden Scale assessment, on November 16, 2021,

Pleasant Ridge staff noted that Mr. Nelson had developed a Stage II pressure ulcer on his left

heel measuring approximately 2.5 x 2.5 x 0.1 cm.

        41.       On November 16, 2021, Pleasant Ridge staff initiated wound care treatment,

ordered Bunny Boots, and emphasized turning and repositioning every two hours to Mr. Nelson.




                                                  6
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 7 of 16




       42.     The same day, on November 16, 2021, Mr. Nelson suffered his second fall at

Pleasant Ridge.

       43.     Pleasant Ridge staff noted that Mr. Nelson had fallen while trying to ambulate in

the TV room, despite being wheelchair bound.

       44.     Pleasant Ridge records indicate that Mr. Nelson’s chair alarm was sounding when

staff found him lying on the floor.

       45.     Pleasant Ridge staff performed a physical and neurological evaluation of Mr.

Nelson and noted he had a change in mental status.

       46.     Pleasant Ridge staff completed a Fall Risk Evaluation following the incident and

updated Mr. Nelson’s Care Plan to include a toileting schedule and scheduled voiding.

       47.     However, no new alarms nor any type of fall mats were ordered.

       48.     On November 17, 2021, Pleasant Ridge records indicate that Mr. Nelson’s wife,

Rosemary, requested he be provided with a wheelchair seatbelt due to his recent falls.

       49.     Pleasant Ridge records further indicate that Mr. Nelson was able to release

seatbelt with max verbal cues and visual cues, as such, Pleasant Ridge did not provide Mr.

Nelson with a seatbelt.

       50.     On December 3, 2021, less than a month after it was documented, Mr. Nelson’s

left heel pressure wound was categorized as Stage III and measured 2.1 x 1.5 x 0.2 cm.

       51.     On this date, December 3, 2021, at approximately 11:43 a.m., Mr. Nelson

suffered his third and final fall at Pleasant Manor.

       52.     Mr. Nelson was being pushed in his wheelchair by Pleasant Ridge staff when he

fell forward out of his chair and violently struck his head.

       53.     According to Pleasant Ridge records, Mr. Nelson had “catapulted out of his

wheelchair after he planted his feet on the ground.”



                                                  7
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 8 of 16




       54.     While Mr. Nelson was lying on the floor, his wife entered the facility and saw

him face up on the floor with his wheelchair behind his head.

       55.     Pleasant Ridge staff claimed to have performed neurological checks and a full

body assessment after the fall.

       56.     Pleasant Ridge staff noted that Mr. Nelson appeared stable, was alert, was able to

move all extremities, but sustained an abrasion measuring 1.5 x 1.5 x 0.1 cm on his forehead.

       57.     Mr. Nelson was also rubbing his temple in pain.

       58.     Pleasant Ridge staff subsequently assisted Mr. Nelson back to his wheelchair and

placed bilateral footrests on his wheelchair as a preventative measure against fall and injury.

       59.     Pleasant Ridge staff checked Mr. Nelson’s vital signs at approximately 12:00

p.m., 12:15 p.m., and 12:30 p.m., and noted no abnormalities.

       60.     However, Pleasant Ridge did not transfer Mr. Nelson to a hospital for evaluation -

despite him the fact that he violently struck his head.

       61.     In fact, Pleasant Ridge staff encouraged Mr. Nelson and his wife to sit in the

dining room with tea.

       62.     Less than two hours later, at around 1:00 p.m., Mr. Nelson became unresponsive.

       63.     Mr. Nelson’s pupils had become fixed and his respirations became labored.

       64.     Pleasant Ridge Manor discussed with Mrs. Nelson whether to transfer Mr. Nelson

to the hospital for evaluation, or to continue comfort measures at the facility.

       65.     While these conversations were ongoing, Mr. Nelson lost carotid pulse.

       66.     Pleasant Ridge records provide that CPR was initiated and these attempts to

resuscitate Mr. Nelson were unsuccessful.

       67.     However, CPR was not ever performed on Mr. Nelson, contradicting Pleasant

Ridge’s own records.



                                                  8
            Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 9 of 16




          68.   Mr. Nelson died at 1:50 p.m. on December 3, 2020 at Pleasant Ridge.

          69.   Mr. Nelson’s cause of death was described on his Death Certificate as “suspected

closed head injury” and “fall.”

                                            COUNT I

                 Deprivation of Civil Rights Enforceable Via 42 U.S.C. §1983

                                           SURVIVAL

          70.   All of the preceding paragraphs of this Complaint are incorporated herein, as if set

forth more fully at length.

          71.   At all times relevant to this Complaint, Pleasant Ridge Manor was acting under

the color of state law and as an agent of the Commonwealth of Pennsylvania.

          72.   Defendant is bound generally by the 1987 Omnibus Budget Reconciliation Act

(OBRA) and the Federal Nursing Home Reform Act (FNHRA) which was contained within the

1987 OBRA. See: 42 U.S.C. §1396r. Defendant is also bound generally by the OBRA/FNHRA

implementing regulations found at 42 C.F.R. §483, et seq., which served to further define and

amplify specific statutory rights set forth in the above-mentioned statutes.

          73.   The statutes in question, as amplified and further defined by the detailed

regulatory provisions, create rights which are enforceable pursuant to 42 U.S.C. §1983, as the

language of these regulations and statutory provisions clearly and unambiguously creates those

rights.

          74.   Defendant, in derogation of the above statutes and regulations, and as a custom

and policy, failed to comply with the aforementioned regulations as follows:

                   a. By failing, as a custom and policy, to develop and
                      implement written Policies and Procedures that prohibited
                      the mistreatment, deliberate indifference and abuse of
                      residents such as Edwin R. Nelson, Jr., as required by 42
                      C.F.R. §483.12 and 42 U.S.C. §1396r(b)(1)(A);



                                                 9
Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 10 of 16




       b. By failing, as a custom and policy, to care for patients,
          including Edwin R. Nelson, Jr., in a manner that promoted
          maintenance or enhancement of his life, as required by 42
          C.F.R. §483.15 and 42 U.S.C. §1396r(b)(1)(A);

       c. By failing, as a custom and policy, to promote the care of
          patients, including Edwin R. Nelson, Jr., in a manner and in
          an environment that maintained or enhanced his dignity as
          required by 42 C.F.R. §483.15 and 42 U.S.C.
          §1396r(b)(1)(A);

       d. By failing, as a custom and policy, to develop a
          comprehensive Care Plan for patients, including Edwin R.
          Nelson, Jr., as required by 42 C.F.R. §483.20 and 42 U.S.C.
          §1396r(b)(2)(A);

       e. By failing, as a custom and policy, to provide patients,
          including Edwin R. Nelson, Jr., the necessary care and
          services to allow him to attain or maintain the highest,
          practicable, physical, mental and psychosocial well-being,
          as required by 42 C.F.R. §483.25 and 42 U.S.C.
          §1396r(b)(3)(A);

       f. By failing, as a custom and policy, to periodically review
          and revise a patient’s or resident's written Plan of Care by
          an interdisciplinary team after each of the resident’s or
          patient's assessments as described within 42 U.S.C.
          §1396r(b)(3)(A) and as required by §1396r(b)(2)(C);

       g. By failing, as a custom and policy, to conduct an
          assessment of a patient or resident, such as Edwin R.
          Nelson, Jr., as per 42 U.S.C. §1396r(b)(3)(A), promptly
          after a significant change in the resident's physical or
          mental condition, as required by 42 U.S.C.
          §1396r(b)(3)(C)(i)(ii);

       h. By failing, as a custom and policy, to use the results of the
          assessments required as described above in developing,
          reviewing and revising the resident's Plan of Care,
          specifically Edwin R. Nelson, Jr.’s Plan of Care, as
          required by 42 U.S.C. §1396r(b)(3)(D);

       i. By failing, as a custom and policy, to ensure that patients or
          residents, including Edwin R. Nelson, Jr., were provided
          medically related social services to attain or maintain the
          highest practicable physical, mental and psychosocial well-
          being as required by 42 C.F.R. §483.25 and 42 U.S.C.
          §1396r(b)(4)(ii);


                                    10
Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 11 of 16




       j. By failing, as a custom and policy, to ensure that an
          ongoing program, directed by a qualified professional, of
          activities designed to meet the interests and the physical,
          mental and psychosocial well-being of each resident or
          patient, including Edwin R. Nelson, Jr., as required by 42
          C.F.R. §483.25 and 42 U.S.C. §1396r(b)(4)(A)(v);

       k. By failing, as a custom and policy, to ensure that the
          personnel responsible for the care of patients were properly
          certified and/or re-certified as being qualified to perform
          necessary nursing services as required by 42 U.S.C.
          §1396r(b)(4)(B);

       l. By failing, as a custom and policy, to provide sufficient
          nursing staff to provide nursing and related services that
          would allow patients or residents, including Edwin R.
          Nelson, Jr., to attain or maintain the highest practicable,
          physical, mental and psychosocial well-being, as required
          by 42 C.F.R. §483.30 and 42 U.S.C. §1396r(b)(4)(C);

       m. By failing, as a custom and policy, to maintain clinical
          records on all residents, including Edwin R. Nelson, Jr.,
          including but not limited to the Plans of Care and resident's
          assessment, as required by 42 U.S.C. §1396r(b)(6)(C);

       n. By failing, as a custom and policy, to ensure that the
          Pleasant Ridge facility was administrated in a manner that
          enabled it to use its resources effectively and efficiently to
          allow patients or residents, including Edwin R. Nelson, Jr.,
          to maintain or attain their highest practicable level of
          physical, mental and psychosocial well-being as required
          by 42 C.F.R. §483.75, 42 U.S.C. §1396r(d)(A) and 42
          U.S.C. §1396r(d)(1)(C);

       o. By failing, as a custom and policy, to ensure that the
          administrator of Defendant Pleasant Ridge met the
          standards established under 42 U.S.C. §1396r(f)(4) as
          required by 42 U.S.C. §1396r(d)(1)(C);

       p. By failing, as a custom and policy, to ensure that Defendant
          Pleasant Ridge was complying with federal, state, local
          laws, and accepted professional standards which apply to
          professionals providing services to residents, including
          Edwin R. Nelson, Jr., and in operating such a facility as
          Defendant Pleasant Ridge, as required by 42 U.S.C.
          §1396(d)(4)(A); and,



                                    11
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 12 of 16




                    q. By failing, as a custom and policy to ensure that Defendant
                       Pleasant Ridge’s administrator and director of nursing
                       properly monitored and supervised subordinate staff
                       thereby failing to ensure the health and safety of residents
                       or patients, including Edwin R. Nelson, Jr., in derogation of
                       42 C.F.R. §483.75 and 42 U.S.C. §1396(a)(1)(A).

        75.     As a proximate result of Defendant’s actionable derogation of its regulatory and

statutory responsibilities as above-described, Plaintiff’s Decedent was injured as previously

referenced, and suffered pain, distress, surgery, and death as a result of Pleasant Ridge Manor’s

poor care and treatment, which allowed his to suffer harm as described herein. As such, Plaintiff

has suffered, and is entitled to recover the following damages, as well as an award of reasonable

counsel fees, pursuant to 42 U.S.C. §1983 and 42 U.S.C. §1988:

                    a. Pain, suffering, inconvenience, anxiety and nervousness of
                       the Plaintiff’s Decedent until the time of his death;

                    b. Hospital, medical, surgical and nursing expenses incurred
                       on Plaintiff’s Decedent’s behalf;

                    c. Other losses and damages permitted by law; and,

                    d. Any other damages as the Court sees fit to award.

        WHEREFORE, the Plaintiff, Rosemary Nelson, Individually and as the Administratrix

of the Estate of Edwin R. Nelson, Jr., Deceased, demands damages of the Defendant Erie

County, Pennsylvania in excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest,

costs of suit and attorneys' fees.

                                            COUNT II

                 Deprivation of Civil Rights Enforceable Via 42 U.S.C. §1983

                                     WRONGFUL DEATH

        76.     All of the preceding paragraphs of this Complaint are incorporated herein, as if set

forth more fully at length.




                                                 12
            Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 13 of 16




         77.    As a proximate result of Defendant’s actionable derogation of its regulatory and

statutory responsibilities as above-described, Plaintiff’s Decedent was injured as previously

referenced, and suffered pain, distress and death as a result of the poor care and treatment he

received.

         78.    As such, Plaintiff has suffered, and is entitled to recover the following damages,

as well as an award of reasonable counsel fees pursuant to 42 U.S.C. §1983 and 42 U.S.C.

§1988:

                a.      Money for funeral and estate expenses incurred because of
                        the death of Edwin R. Nelson, Jr.;

                b.      Damages for the lost services, assistance, guidance,
                        counseling, and companionship of Edwin R. Nelson, Jr.;

                c.      Financial support and all pecuniary benefits which would
                        have been received from the Decedent;

                d.      The expenses of administration; and,

                e.      Other losses and damages permitted by law.


         WHEREFORE, the Plaintiff, Rosemary Nelson, Individually and as the Administratrix

of the Estate of Edwin R. Nelson, Jr., Deceased, demands damages of the Defendant Erie

County, Pennsylvania in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

plus interest, costs of suit, and attorney’s fees.

                                              COUNT III

         Violations of the United States of America’s Constitution Under Amendment
           Fourteen for Injury to Human Dignity Enforceable Via 42 U.S.C. §1983

                                             SURVIVAL

         79.    All of the preceding paragraphs of the within Complaint are incorporated herein

as if set forth more fully at length.




                                                     13
           Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 14 of 16




         80.        During the residency of Edwin R. Nelson, Jr., Defendant deliberately and/or

with deliberate indifference failed to properly care for him, causing him to suffer an injury to

human dignity.

         81.        Specifically, Defendant allowed Edwin R. Nelson, Jr. to remain in a state that

was hazardous to his health and well-being.

         82.        These violations interfere with Edwin R. Nelson, Jr.’s rights under the

Fourteenth Amendment to the United States of America’s Constitution.

         83.        During its treatment of Edwin R. Nelson, Jr., Defendant acted pursuant to a

state right or privilege, and as such was a state actor.

         84.        While a patient at Defendant Pleasant Ridge, Edwin R. Nelson, Jr. had a

serious medical need, and the deliberate and deliberately indifferent acts and omissions of the

staff at Defendant Pleasant Ridge indicated deliberate indifference to Mr. Nelson’s medical

needs.

         85.        Edwin R. Nelson, Jr. was dependent upon Defendant Pleasant Ridge and its

staff for a significant amount of his activities of daily living, nursing care, and treatment needs.

         86.        Defendant and its staff were deliberately indifferent to Edwin R. Nelson, Jr.

because they knew that Mr. Nelson faced a substantial risk of serious harm and they failed to

take reasonable steps to avoid the harm.

         87.        As a proximate result of Defendant’s failure to act properly as above-

described, Edwin R. Nelson, Jr. suffered an injury to human dignity as previously referenced

and suffered pain, distress and death as a result of the poor care and treatment given to him,

allowing him to develop the injuries and suffer death as referenced herein. As such, Plaintiff has

suffered, and is entitled to recover for, the following damages:

               a.      Pain, suffering, inconvenience, anxiety and nervousness of
                       the Plaintiff’s Decedent until the time of his death;


                                                  14
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 15 of 16




                b.      Hospital, medical, surgical and nursing expenses incurred
                        on Plaintiff’s Decedent’s behalf;

                c.      Attorney’s fees and costs;

                d.      Other losses and damages permitted by law; and,

                e.      Any other damages as the Court sees fit to award.

        WHEREFORE, Plaintiff Rosemary Nelson, as Administrator of the Estate of Edwin R.

Nelson, Jr., Deceased, demands compensatory and consequential damages from Defendant Erie

County, Pennsylvania in excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest,

costs of suit and attorneys' fees.

                                            COUNT IV

        Violations of the United States of America’s Constitution Under Amendment
          Fourteen for Injury to Human Dignity Enforceable Via 42 U.S.C. §1983

        88.          All preceding paragraphs of the within Complaint are incorporated herein as if

set forth more fully at length.

        89.          As a proximate result of Defendant’s actionable derogation of its regulatory

and statutory responsibilities as above-described, Plaintiff’s Decedent was injured as previously

described and suffered pain, distress and death as a result of the injuries to his human dignity.

        90.          As such, Plaintiff has suffered, and is entitled to recover for, the following

damages, as well as an award of reasonable counsel fees pursuant to 42 U.S.C. §1983 and 42

U.S.C. §1988:

                a.      Money for funeral and estate expenses incurred because of
                        the death of Edwin R. Nelson, Jr.;

                b.      Damages for the lost services, assistance, guidance,
                        counseling, and companionship of Edwin R. Nelson, Jr.;

                c.      Financial support and all pecuniary benefits which would
                        have been received from the Decedent;



                                                 15
          Case 1:22-cv-00234-CB Document 1 Filed 07/26/22 Page 16 of 16




               d.      The expenses of administration; and,

               e.      Other losses and damages permitted by law.

       WHEREFORE, Plaintiff Rosemary Nelson, Individually and as Administrator of the

Estate of Edwin R. Nelson, Jr., Deceased, demands compensatory and consequential damages

from Defendant Erie County, Pennsylvania in excess of Seventy-Five Thousand Dollars

($75,000.00), plus interest, costs of suit and attorneys' fees.

A JURY TRIAL IS DEMANDED.

                                                 Respectfully submitted,

                                                 ROBERT PEIRCE & ASSOCIATES, P.C.

                                                 By: /s/ Allison H. Greene
                                                    ALLISON H. GREENE, ESQUIRE
                                                    Pa. I.D. No.: 325648
                                                    707 Grant Street, Suite 125
                                                    Pittsburgh, PA 15219
                                                    (412) 281-7229
                                                    agreene@peircelaw.com




                                                  16
